            Case 1:17-cv-04179-DLC Document 56 Filed 11/14/17 Page 1 of 2




                                      November 14, 2017


Via CM/ECF


Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl Street, Room 1610
New York, NY 10007

       Re:      Alpine Securities Corporation adv. United States Securities and Exchange Comm.
                Civil No. 1:17-cv-04176-DLC-RLE

Dear Judge Cote:

        Plaintiff the Securities and Exchange Commission (“SEC”) and Defendant Alpine
Securities Corporation (“Alpine) have conferred regarding a briefing schedule for the summary
judgment practice discussed during the November 2, 2017 hearing with the Court, and hereby
submit the following stipulated schedule for approval by the Court:

       1.       The SEC may file a Motion for Partial Summary Judgment with exemplar SARs
                on or before December 4, 2017.

       2.       Alpine may file an Opposition to SEC’s Motion for Partial Summary Judgment,
                and any Cross-Motion for Summary Judgment, on or before January 12, 2018.

       3.       The SEC may file a Reply Memorandum in Support of its Motion for Partial
                Summary Judgment, and an Opposition to any Cross-Motion for Partial Summary
                Judgment filed by Alpine, on or before January 26, 2018.

       4.       Alpine may file a Reply Memorandum in Support of its Cross-Motion for
                Summary Judgment on or before February 9, 2018.
        Case 1:17-cv-04179-DLC Document 56 Filed 11/14/17 Page 2 of 2




                                     Respectfully submitted,



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cc: Counsel of Record (via CM/ECF)
